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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION
In re:

CAROLYN RUIZ                                                           CASE NO. 19-20404-RAM
                                                                       CHAPTER 13
                  Debtor.
_______________________________/

                        OBJECTION TO CONFIRMATION OF PLAN

          Creditor, Capital One Auto Finance, a division of Capital One, N.A., objects to

confirmation and states:

         1.     Creditor is the lienholder on the title to the following vehicle:

                               2013 Toyota Camry Sedan 4D LE I4
                             VIN: 4T1BF1FK9DU293462 (“Vehicle”).

          2.    Creditor filed Proof of Claim 1-1 in the total amount of $13,432.81.

          3.    Debtor’s Plan proposes to value Creditor’s secured claim on the Vehicle to

$7,000.00, pursuant to 11 U.S.C. §506.

          4.    Creditor believes the replacement value of the Vehicle is higher than stated in the

Plan.

          5.    Specifically, Creditor believes the replacement value of the Vehicle, as of the date

of filing, is $10,600.00, pursuant to the NADA record attached hereto as Exhibit “A” and the

Court’s reasoning in In re Hauser, 405 BR 684 (Bankr. S.D. Fla. 2009) (Olson, J.) and In re Ortiz,

2007 WL 1176019 (Bankr. S.D. Fla. 2007) (Ray, J.).

          6.    Notwithstanding the above, if an agreement cannot be reached amicably between

the parties as to the value of the Vehicle after the Debtor files the appropriate motion, Creditor will

conduct an appraisal of the Vehicle prior to an evidentiary hearing on said motion.
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       WHEREFORE, Creditor, respectfully requests the Court sustain this Objection and for

such other and further relief as the Court deems appropriate.

                                              /s/ Gavin N. Stewart
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                                              Counsel for Creditor

                                 CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing was served via CM/ECF notice and

first-class mail to the parties below this 26th day of August, 2019.

                                              /s/ Gavin N. Stewart
                                              Gavin N. Stewart, Esquire
VIA FIRST-CLASS MAIL
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VIA CM/ECF NOTICE
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U.S. Trustee
Office of the US Trustee
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